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 6    Universal Enterprise Company and Lotus
      Developments
 7
                                UNITED STATES DISTRICT COURT
 8
                              EASTERN DISTRICT OF CALIFORNIA
 9

10

11
                                                           No. 1:07-CV-01080-LJO-NEW (WMW)
12
     ROGER MCINTOSH,
                                                           ANSWER
13
                                       Plaintiff(s);
     v.                                                    DEMAND FOR JURY TRIAL
14
     NORTHERN CALIFORNIA UNIVERSAL
15   ENTERPRISES COMPANY, ET AL.,

16
                                       Defendant(s).
17

18          Comes now defendants, Northern California Universal Enterprises Company, Inc. and
19
     Lotus Developments, LP and in response to Plaintiff's complaint answer as follows;
20
                                      NATURE OF THE ACTION
21
     1.     Defendants deny that they "created" a subdivision or that they employed the embodiment
22

23   of Plaintiff's designs. Defendants further deny that they have infringed on any real or claimed
24   copyright rights of the Plaintiff that are the subject of Copyright Reg. Cert. No. VAU-721-180.
25
                          PARTIES AND OTHER IMPORTANT PERSONS
26
     2.     Defendants admit the allegations of paragraph 2.
27

28
     3.     Defendants admit the allegations of paragraph 3.


                                                       1
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 1   4.     Defendants admit the allegations of paragraph 4.
 2
     5.     Defendant denies the allegations of paragraph 5.
 3
     6.     Defendants do not possess information sufficient to know if the allegations of paragraph
 4

 5   6 are true or false and therefore deny same.

 6   7.     Defendants admit the allegations of paragraph 7.
 7
     8.     Defendants admit the allegations of paragraph 8.
 8
                                      FACTUAL BACKGROUND
 9                                     McIntosh and Associates
10
     9.     Defendants do not possess information sufficient to know if the allegations of paragraph
11
     9 are true or false and therefore deny same.
12
     10.    Defendants do not possess information sufficient to know if the allegations of paragraph
13

14   10 are true or false and therefore deny same.

15   11.    Defendants do not possess information sufficient to know if the allegations of paragraph
16
     11 are true or false and therefore deny same.
17
     12.    Defendants do not possess information sufficient to know if the allegations of paragraph
18

19
     12 are true or false and therefore deny same.

20   13.    Defendants admit the allegations of paragraph 13.
21                                  Contract With The Legacy Group
22
     14.    Defendants do not possess information sufficient to know if the allegations of paragraph
23
     14 are true or false and therefore deny same.
24

25   15.    Defendants do not possess information sufficient to know if the allegations of paragraph

26   15 are true or false and therefore deny same.
27
     16.    Defendants do not possess information sufficient to know if the allegations of paragraph
28
     16 are true or false and therefore deny same.

                                                     2
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 1   17.    Defendants do not possess information sufficient to know if the allegations of paragraph
 2
     17 are true or false and therefore deny same.
 3
     18.    Defendants do not possess information sufficient to know if the allegations of paragraph
 4

 5   18 are true or false and therefore deny same.

 6   19.    Defendants do not possess information sufficient to know if the allegations of paragraph
 7
     19 are true or false and therefore deny same.
 8
                                          The Subdivision Plans
 9
     20.    Defendants do not possess information sufficient to know if the allegations of paragraph
10

11   20 are true or false and therefore deny same.

12   21.    Defendants do not possess information sufficient to know if the allegations of paragraph
13
     21 are true or false and therefore deny same.
14
     22.    Defendants do not possess information sufficient to know if the allegations of paragraph
15
     22 are true or false and therefore deny same.
16

17                               Initial Construction of the Subdivision
18   23.    Defendants do not possess information sufficient to know if the allegations of paragraph
19
     23 are true or false and therefore deny same.
20
     24.    Defendants do not possess information sufficient to know if the allegations of paragraph
21

22
     24 are true or false and therefore deny same.

23   25.    Defendants do not possess information sufficient to know if the allegations of paragraph
24
     25 are true or false and therefore deny same.
25
                             Defendants' Infringement of McIntosh's Plans
26
     26.    Defendants admit the allegations of paragraph 26.
27

28



                                                     3
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 1   27.    Defendants admit that Mr. Wu contacted McIntosh but denies that he asked him if he
 2
     could "use the Plans" or that McIntosh requested that Mr. Wu pay for the Plans.
 3
     28.    Defendants deny the allegations of paragraph 28.
 4

 5   29.    Defendants do not possess information sufficient to know if the allegations of paragraph

 6   29 are true or false and therefore deny same.
 7
     30.    Defendants deny that they constructed the subdivision and deny the remaining allegations
 8
     of paragraph 30.
 9
     31.    Defendants deny that they constructed the subdivision and deny the remaining allegations
10

11   of paragraph 31.

12   32.    Defendants admit the allegations of paragraph 32.
13
     33.    Defendants deny the allegations of paragraph 33.
14
                                       FIRST CAUSE OF ACTION
15
                             Copyright Infringement of Technical Drawings
16
     34.    Defendants incorporate their answers set forth in paragraphs 1-33.
17

18   35.    Defendants deny the allegations of paragraph 35.

19   36.    Defendants deny the allegations of paragraph 36.
20
     37.    Defendants deny the allegations of paragraph 37.
21
                                         PRAYER FOR RELIEF
22
            Defendant denies that McIntosh has been damaged in any way or that the Plaintiff
23

24   McIntosh is entitled to monetary or injunctive relief.

25   ///
26
     ///
27
     ///
28



                                                      4
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 1                              SEPARATE AFFIRMATIVE DEFENSES
 2
            Defendants, and each of them, hereby assert the following affirmative defenses.
 3
                                    FIRST AFFIRMATIVE DEFENSE
 4

 5   38.    The Complaint and each cause of action alleged therein fails to state a claim upon which

 6   relief can be granted. Plaintiff’s Complaint further fails to state facts sufficient to support
 7
     injunctive relief or an award of attorney’s fees.
 8
                                  SECOND AFFIRMATIVE DEFENSE
 9
     39.    The claims of the Plaintiff in the Complaint are barred in whole or in part by the
10

11   Plaintiff’s acts of copyright misuse. Plaintiff has misused its copyrights and is wrongfully

12   attempting to extend the scope of the limited monopoly granted by the Copyright Act.
13
                                   THIRD AFFIRMATIVE DEFENSE
14
     40.    The claims of the Plaintiff in the Complaint are barred by the equitable doctrine of
15
     Latches. Although at the time of Defendants’ purchase from the City of Wasco the subdivision
16

17   had already been constructed by others pursuant to a subdivision agreement, the City required

18   Defendants to go through the mapping process again. Defendants hired a separate engineering
19
     firm to prepare plans for a tentative and final map. The improvements were already in place and
20
     had been around 10 years.
21

22
                                  FOURTH AFFIRMATIVE DEFENSE

23   41.    The claims of the Plaintiff in the Complaint are barred by the equitable doctrine of
24
     Unclean Hands.
25
                                    FIFTH AFFIRMATIVE DEFENSE
26
     42.    At all relevant times and places mentioned in the Plaintiff’s complaint herein, plaintiff
27

28   failed to mitigate the amount of damages, if any. The damages claimed by Plaintiff could have


                                                         5
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 1   been mitigated by due diligence on its part or by one acting reasonable under similar
 2
     circumstances. The failure of the Plaintiff to mitigate damages is a bar to recovery under the
 3
     Complaint.
 4

 5                                 SIXTH AFFIRMATIVE DEFENSE

 6   43.    The claims of the Plaintiff in the Complaint are barred or any recovery is limited by the
 7
     applicable statute of limitations. Specifically, some or all of the purported infringements alleged
 8
     by Plaintiffs are barred by the statutes of limitations set forth in section 507 of the Copyright Act.
 9
     17 U.S.C. §507, and also set forth in California Civil Code §339(1).
10

11                               SEVENTH AFFIRMATIVE DEFENSE

12   44.    The claims of the Plaintiff in the Complaint are barred by the doctrine of Fair Use.
13
                                  EIGHTH AFFIRMATIVE DEFENSE
14
     45.    The claims of the Plaintiff in the Complaint are barred by the First Sale Doctrine.
15
                                   NINTH AFFIRMATIVE DEFENSE
16

17   46.    The claims of the Plaintiff in the Complaint are barred by the waiver, license,

18   abandonment or forfeiture by the Plaintiff of any rights previously held under the Copyright Act
19
     or otherwise surrendered by the operation of law.
20
                                   TENTH AFFIRMATIVE DEFENSE
21

22
     47.    The claims of the Plaintiff in the Complaint are barred by the equitable doctrine of

23   Estoppel.
24
                                ELEVENTH AFFIRMATIVE DEFENSE
25
     48.    The Complaint and each cause of action alleged therein is barred because the Plaintiff
26
     failed to include the individual(s) who allegedly engaged in the infringement in questions and
27

28



                                                       6
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 1   who is/are indispensable parties pursuant to Rules 12(b)(7) and 19 of the Federal Rules of Civil
 2
     Procedure.
 3
                                 TWELFTH AFFIRMATIVE DEFENSE
 4

 5   49.    The claims of the Plaintiff in the Complaint for statutory damages and attorney’s fees

 6   under 17 U.S.C. §504 are barred because the identified copyright registration of the Plaintiff
 7
     were not made within three months after the first publication of the allegedly infringing works as
 8
     required by 17 U.S.C. §412.
 9
                               THIRTEENTH AFFIRMATIVE DEFENSE
10

11   50.    The claims of the Plaintiff in the Complaint are barred by the doctrine of Consent. The

12   Plaintiff and its predecessors in interest consented to use of the Plaintiff’s copyrighted material
13
     under agreements between Plaintiff and its customers and/or former customers and by the
14
     submission of said copyrighted works to a governmental agency.
15
                                          PRAYER FOR RELIEF
16

17          WHEREFORE, Defendants respectfully request the following relief:

18   1.     For dismissal of the Plaintiffs’ action with prejudice and a judgment in favor of
19
     Defendants denying all relief requested by Plaintiff in this action;
20
     2.     For an award of Defendant’s costs of suit including reasonable attorneys’ fees; and
21

22
     3.     For such further and other relief and the Court deems fair and just.

23
     Dated this 13th day of December, 2007                         /s/ Steven J. Hassing, Esq.
24
                                                           Steven J Hassing, Attorney
25                                                         for defendants

26

27

28



                                                       7
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 1
                                    CERTIFICATE OF SERVICE
 2
     1.    On December 13, 2007, I served the following document:
 3
           •        DEFENDANT’S ANSWER
 4
     2.    The above-named document was served by the following means to the persons as
 5         listed below:
 6
            ECF System of the United States Bankruptcy Court, District of Nevada.
 7
      XX    United States Mail, first class postage fully prepaid and addressed to:
 8
            Forrest A. Hainline, III
 9
            Goodwin Procter LLP
10          101 California Street, Suite 1850
            San Francisco, CA 94111
11

12             By fax transmission. I faxed the document to the persons at the fax number listed
               below. No error was reported by the fax machine that I used. A copy of the record
13             of the fax transmission is attached.
14
           I declare under penalty of perjury that the foregoing is true and correct.
15         Dated this 13th Day of December, 2007.

16

17                                               Kimberley A. Hassing
18

19

20

21

22

23

24

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